Case 3:20-cv-00406-S-BT Document 13 Filed 12/31/20 Page1of1 PagelD 46

United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
CEDRIC GREENE §
v. : CIVIL ACTION NO. 3:20-CV-406-S-BT
OFFICE OF THE COMPTROLLER :
OF THE CURRENCY, et al. §

ORDER
The United States Magistrate Judge made findings, conclusions and a recommendation in
this case. Plaintiff filed objections, and the District Court has made a de novo review of those
portions of the proposed findings and recommendation to which objection was made. The
objections are overruled, and the Court ACCEPTS the Findings, Conclusions and
Recommendation of the United States Magistrate Judge.
SO ORDERED.

SIGNED December 31, 2020.

 

UNITED STATES DISTRICT JUDGE
